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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF GEORGIA
                                 AUGUSTA DIVISION

UNITED STATES OF AMERICA                       *
                                               *
v.                                             *                NO. 1:17-CR-0034
                                               *
REALITY LEIGH WINNER                           *
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         DEFENDANT’S MOTION TO ADOPT REDACTION PROCEDURES FOR
      TRANSCRIPTS AND MOTION TO ENFORCE REDACTION PROCEDURES FOR
     OTHER FILINGS AND INCORPORATED MEMORANDUM OF LAW IN SUPPORT

        Defendant Reality Leigh Winner (the “Defendant” or “Ms. Winner”) respectfully submits

this Motion to Adopt Redaction Procedures for Transcripts and Motion to Enforce Redaction

Procedures for Other Filings and Incorporated Memorandum of Law in Support (the "Renewed

Motion"). For the reasons that follow, Ms. Winner hereby respectfully requests that the Court

(a) enforce its December 5, 2017 Order, including the deadlines imposed upon the appropriate

government agencies to file redacted copies of classified filings; and (b) enter an order clarifying

and confirming that the same procedures and protocols apply to classified hearing transcripts,

such that redacted copies of classified hearing transcripts must be filed on the public docket

within twenty-one (21) days of their being made available to the parties by the CISO and/or court

reporter.

I.      INTRODUCTION

        On November 27, 2017, Ms. Winner filed Defendant's Motion to Lift Unconstitutional

Limitations and Motion to Enforce Relevant Provisions of the Protective Order; and Request for

a Hearing [Doc. No. 164] (the "Original Motion"), which sought (in relevant part) that the Court

enforce and clarify certain provisions of a certain Protective Order [Doc. No. 58], including the




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provisions thereof requiring the Government to provide redacted copies of classified filings on

the public docket. See e.g., Doc. No. 58 at ¶15. The Court resolved the Original Motion by

entering an Order [Doc. No. 172] requiring (in relevant part) that "appropriate government

agencies shall file redacted versions of classified filings on the public docket within twenty-one

days of submission to the CISO for defense filings and within fourteen days of submission for

government filings." See Doc. No. 172 at pg. 1.

       As of the filing of this Renewed Motion, redacted versions of classified filings are

routinely being filed well outside the deadlines proscribed by the Court. Furthermore, the

defense understands that the various governmental agencies do not presently intend to file

redacted copies of classified hearing transcripts on the public docket, as hearing transcripts (in

the Government's estimation) are beyond the scope of the Court's existing orders. This Renewed

Motion is filed to address these issues and seeks relief consistent with this Court's prior orders.

II.    ARGUMENT AND CITATION OF AUTHORITIES

       The Protective Order [Doc. No. 58] requires that, for any defense filing that contains

classified information, the Government must mark “the classified portions of the document, and

only those portions, . . . with appropriate classification markings,” and “all portions” of the

document “that do not contain classified information shall be immediately unsealed by the

Classified Information Security Officer and placed in the public record” See Doc. 58 at ¶ 15

(emphasis added). The December 5, 2017 Order [Doc. No. 172] requires that "appropriate

government agencies shall file redacted versions of classified filings on the public docket within

twenty-one days of submission to the CISO for defense filings and within fourteen days of

submission for government filings." See Doc. No. 172 at pg. 1. Despite these clear orders, many




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classified filings have not been redacted and placed on the public docket as proscribed by the

Court.1

          By way of one example only (not as an exhaustive list), the Government still has not filed

a redacted version of Defendant's Motion and Memorandum of Law in Support of Her Motion In

Limine and Response to the Government's Notice of Evidence Under 404(b), which was filed on

November 27, 2017. See Doc. No. 166. The twenty-one day deadline elapsed on December 18,

2017 (or twenty-one days from the date the Court entered the order requiring these redacted

pleadings to be placed on the docket -- December 26, 2017). Another example is Defendant's

Expedited Motion to Compel Response to Discovery Requests Dated August 29, 2017 and

Request for a Hearing, which was filed on October 19, 2017. See Doc. No. 129. The twenty-one

day deadline for placing this redacted pleading on the docket also elapsed on December 26, 2017

(twenty-one days from the Order by the Court requiring these pleadings to be placed on the

docket).

          Separately, Ms. Winner understands that the Government does not presently intend to file

redacted copies of classified hearing transcripts on the public docket. There is no reason why

classified transcripts, with appropriate redactions, should not be made public under pertinent case

authorities set forth below. Accordingly, Ms. Winner requests that the Court enter an order

requiring the redaction of classified transcripts within twenty-one (21) days of those transcripts

being made available by the CISO and/or court reporter.

          As set forth in Ms. Winner's Original Motion, and consistent with this Court's orders,

there is a “presumption of openness” inherent in all judicial proceedings, including this one. See

e.g,, United States v. Ochoa-Vasquez, 428 F.3d 1015, 1030–31 (11th Cir. 2005). If a party

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  The defense understands that, ultimately, it is the responsibility of the intelligence community
to redact the classified filings (not the responsibility of the prosecution team or the CISO).


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wishes to keep a filing under seal, it must overcome the “presumption of openness” and

demonstrate a compelling interest in keeping the information under seal. Id. The Government

has done neither with regard to any unclassified portions of filings and hearing transcripts in this

case. Therefore, any such unclassified portions of filings and hearing transcripts should be made

available of record on the public docket.

        As previously briefed, courts confronted with this issue in the context of classified filings

have required that for “any” filing that contained classified information, whether by the

Government or the defense, the intelligence community had to “complete their review, make any

required redactions, and provide the Court with a redacted version for filing on the public docket

within ten (10) business days” of the original filing of the document under seal with the court.

See United States v. Kim, No. 1:10-cr-00225-CKK, ECF No. 174 (D.D.C. Oct. 18, 2013)

(attached to Original Motion as Exhibit A). Likewise, this Court has already adopted similar

procedures in its December 5, 2017 Order, which explicitly requires that "appropriate

government agencies shall file redacted versions of classified filings on the public docket within

twenty-one days of submission to the CISO for defense filings and within fourteen days of

submission for government filings." See Doc. No. 172 at pg. 1.

        By filing this Renewed Motion, Ms. Winner is merely requesting that the Court enforce

its existing orders and clarify and confirm that the provisions thereof are applicable to hearing

transcripts and filings alike.

III.    CONCLUSION

        For all the reasons set forth in her Original Motion and herein, Ms. Winner respectfully

requests that the Court (a) enforce the Court's December 5, 2017 Order, including the deadlines

imposed upon the appropriate government agencies to file redacted copies of classified filings;




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and (b) enter an order clarifying and confirming that the same procedures and protocols apply to

classified hearing transcripts, such that redacted copies of classified hearing transcripts must be

filed on the public docket within twenty-one (21) days of their being made available to the

parties by the CISO and/or court reporter.

Respectfully submitted,

/s/ Joe D. Whitley

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                                  CERTIFICATE OF SERVICE

     I hereby certify that on January 31, 2018, I electronically filed the foregoing with the Clerk
of the Court using the ECF system, which sent notification of such filing to counsel of record for
all parties.

                                                             /s/ Joe D. Whitley
                                                             JOE D. WHITLEY




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